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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


   IN RE: VALSARTAN,
   LOSARTAN, AND                                           MDL No. 2875
   IRBESARTAN PRODUCTS
   LIABILITY LITIGATION
                                                   HON. ROBERT B. KUGLER
                                                    CIVIL NO. 19-2875 (RBK)
   THIS DOCUMENT RELATES TO
   ALL CASES


                 CERTIFICATION OF ADAM M. SLATER
          IN OPPOSITION TO DEFENDANTS’ MOTIONS IN LIMINE
        ADAM M. SLATER, hereby certify as follows:

        1.     I am an attorney at law within the State of New Jersey and a partner

  with the law firm of Mazie Slater Katz & Freeman, LLC, and serve as Plaintiffs’ Co-

  Lead Counsel. I am fully familiar with the facts and circumstances of these

  actions. I make this certification in opposition to Defendants’ motions in limine.

        2.     Attached hereto as Exhibit 1 is a true and accurate copy of the transcript

  of Linda Lin’s May 4, 2021 deposition.

        3.     Attached hereto as Exhibit 2 is a true and accurate copy of

  SOLCO00024231, Solco’s recall notice.

        4.     Attached hereto as Exhibit 3 is a true and accurate copy of

  SOLCO00024226, Prinston’s recall notice.
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        5.     Attached hereto as Exhibit 4 is a true and accurate copy of the relevant

  excerpts of IARC, Some N-Nitroso Compounds (1978).

        6.     Attached hereto as Exhibit 5 is a true and accurate copy of the relevant

  excerpts of IARC, Overall Evaluations of Carcinogenicity: An Updating of IARC

  Monographs Volumes 1 to 42 (1987).

        7.     Attached hereto as Exhibit 6 is a true and accurate copy of the EMEA’s

  Guideline on the Limits of Genotoxic Impurities.

        8.     Attached hereto as Exhibit 7 is a true and accurate copy of the FDA’s

  Guidance for Industry: Genotoxic and Carcinogenic Impurities in Drug Substances

  and Products.

        9.     Attached hereto as Exhibit 8 is a true and accurate copy of the transcript

  of Jucai Ge’s May 27, 2022 deposition.

        10.    Attached hereto as Exhibit 9 is a true and accurate copy of the transcript

  of Eric Gu’s April 6, 2021 deposition.

        11.    Attached hereto as Exhibit 10 is a true and accurate copy of the

  transcript of Min Li’s April 20, 2021 deposition.

        12.    Attached hereto as Exhibit 11 is a true and accurate copy of the

  transcript of Jun Du’s May 27, 2021 deposition.

        13.    Attached hereto as Exhibit 12 is a true and accurate copy of the

  transcript of Hai Wang’s March 10, 2021 deposition.
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        14.    Attached hereto as Exhibit 13 is a true and accurate copy of

  PRINSTONO0073102, ZHP’s DMF amendment for the ZnCl2 process.

        15.    Attached hereto as Exhibit 14 is a true and accurate copy of

  ZHP01843066, ZHP’s Change Request form for the ZnCl2 process.

        16.    Attached hereto as Exhibit 15 is a true and accurate copy of

  ZHP00469139, ZHP’s Change Control SMP.

        17.    Attached hereto as Exhibit 16 is a true and accurate copy of HUAHAI-

  US00007752, the ZnCl2 DMF.

        18.    Attached hereto as Exhibit 17 is a true and accurate copy of

  PRINSTON00080011, the TEA with sodium nitrite quenching DMF.

        19.    Attached hereto as Exhibit 18 is a true and accurate copy of Plaintiffs’

  translation of ZHP00190573, the July 27, 2017 email.

        20.    Attached hereto as Exhibit 19 is a true and accurate copy of ZHP’s

  translation of ZHP00190573, the July 27, 2017 email.

        21.    Attached hereto as Exhibit 20 is a true and accurate copy of

  PRINSTON00162349, the FDA’s EIR for the July 23 to August 3, 2018 inspection.

        22.    Attached hereto as Exhibit 21 is a true and accurate copy of the

  transcript of Min Li’s April 22, 2021 deposition.

        23.    Attached hereto as Exhibit 22 is a true and accurate copy of the

  transcript of Peng Dong’s April 1, 2021 deposition.
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        24.   Attached hereto as Exhibit 23 is a true and accurate copy of Health

  Canada’s Impurities found in certain angiotensin II receptor blocker (ARB)

  products, also known as sartans (Apr. 29, 2019), https://www.canada.ca/en/health-

  canada/services/drugs-health-products/compliance-enforcement/information-

  health-product/drugs/angiotensin-receptor-blocker.html.

        25.   Attached hereto as Exhibit 24 is a true and accurate copy of

  ZHP01862672, the EMA/EDQM’s Final GMP Inspection Report for its September

  10 to 13, 2018 inspection.

        26.   Attached hereto as Exhibit 25 is a true and accurate copy of the

  transcript of Peng Dong’s March 29, 2021 deposition.

        27.   Attached hereto as Exhibit 26 is a true and accurate copy of the

  Pharmaceutical    Inspection    Co-operation     Scheme’s    Members     webpage,

  https://picscheme.org/en/members.

        28.   Attached hereto as Exhibit 27 is a true and accurate copy of the

  Pharmaceutical Inspection Co-operation Scheme’s minutes for its December 18,

  2015 meeting.

        29.   Attached hereto as Exhibit 28 is a true and accurate copy of the

  Pharmaceutical Inspection Co-operation Scheme’s itinerary for its 2016 Annual

  Seminar.
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        30.    Attached hereto as Exhibit 29 is a true and accurate copy of

  ZHP00454953, Torrent’s February 13, 2019 letter to ZHP, highlighted for redaction.

        31.    Attached hereto as Exhibit 30 is a true and accurate copy of TEVA-

  MDL2875-00324735, Teva’s September 13, 2018 letter to ZHP, highlighted for

  redaction.

        32.    Attached hereto as Exhibit 31 is a true and accurate copy of

  ZHP00310309, June 19, 2018 email chain between ZHP and Novartis.

        33.    Attached hereto as Exhibit 32 is a true and accurate copy of

  ZHP00380568, July 5, 2018 email chain between ZHP and Novartis.

        34.    Attached hereto as Exhibit 33 is a true and accurate copy of

  ZHP01390017, June 7, 2018 email chain between ZHP and Novartis.

        35.    Attached hereto as Exhibit 34 is a true and accurate copy of

  ZHP02214647, June 6, 2018 email chain between ZHP and Novartis.

        36.    Attached hereto as Exhibit 35 is a true and accurate copy of

  ZHP00359796, June 5, 2018 email chain between ZHP and Novartis.

        37.    Attached hereto as Exhibit 36 is a true and accurate copy of

  ZHP00405021, May 22, 2018 email chain between ZHP and Novartis.

        38.    Attached hereto as Exhibit 37 is a true and accurate copy of the

  transcript of Jucai Ge’s April 28, 2021 deposition.
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        39.   Attached hereto as Exhibit 38 is a true and accurate copy of the

  transcript of Hai Wang’s March 11, 2021 deposition.

        40.   Attached hereto as Exhibit 39 is a true and accurate copy of

  ZHP02170975, Liteplo, Meek, and Windle, N-Nitrosodimethylamine: Concise

  International Chemical Assessment Document 38 (WHO 2002).

        41.   Attached hereto as Exhibit 40 is a true and accurate copy of

  ZHP01881221, Charles Wang’s Nonclinical Safety Assessment of NDMA and

  Recommended Limit in Drug Product.

        42.   Attached hereto as Exhibit 41 is a true and accurate copy of

  ZHP00004352, ZHP’s first DIR on NDMA in Valsartan.

        43.   Attached hereto as Exhibit 42 is a true and accurate copy of

  CHARLESWANG000444, July , 2018 email chain between ZHP and Charles Wang.

        44.   Attached hereto as Exhibit 43 is a true and accurate copy of

  ZHP02170920, June 19, 2018 email from Charles Wang to Min Li.

        45.   Attached hereto as Exhibit 44 is a true and accurate copy of

  PRINSTONO0399001, June 29, 2018 email from Min Li to Charles Wang.

        46.   Attached hereto as Exhibit 45 is a true and accurate copy of the

  transcript of Jun Du’s May 28, 2021 deposition.

        47.   Attached hereto as Exhibit 46 is a true and accurate copy of

  ZHP00675949, November 2, 2018 internal ZHP email chain.
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        48.    Attached hereto as Exhibit 47 is a true and accurate copy of the

  metadata for ZHP00190573, the July 27, 2017 email.

        49.    Attached hereto as Exhibit 48 is a true and accurate copy of the

  transcript of Eric Gu’s April 5, 2021 deposition.

        50.    Attached hereto as Exhibit 49 is a true and accurate copy of

  ZHP00190573, the July 27, 2017 email.

        51.    Attached hereto as Exhibit 50 is a true and accurate copy of

  ZHP01881288, an internal ZHP email chain regarding the payment of Charles Wang,

  with a certified translation of the Chinese email.

        52.    Attached hereto as Exhibit 51 is a true and accurate copy of the

  abstract of ZHP’s patent for its optimized valsartan process.

                                   MAZIE SLATER KATZ & FREEMAN, LLC

                                   Attorneys for Plaintiffs


                                   By:    /s/ Adam M. Slater

  Dated: February 26, 2024
